      Case 4:19-cr-00109-RSB-CLR Document 38 Filed 10/29/19 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURTS
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )         4:19-cr-00109-RSB-CLR
                                                   )
MELANIE SMITH,                                     )
                                                   )
Defendant.                                         )


                       ORDER GRANTING LEAVE OF ABSENCE


       Defendant, MELANIE SMITH’s counsel, STEPHANIE O. BURGESS, having filed her

Motion for Leave of Absence and having served all parties thereto;

       IT IS HEREBY ORDERED that said Motion for Leave of Absence for the following dates:

December 23, 2019 – December 27, 2019, February 19, 2020 – February 24, 2020, March 27,

2020 – April 6, 2020, and May 22, 2020 – June 2, 2020 is GRANTED.

       This WKday of2FWREHU, 2019.



                                                   __________
                                                           ______________________
                                                   ________________________________
                                                   CHRISTOPHER
                                                   CHRI
                                                      R ST
                                                        S OP  H R L. RAY
                                                            PHE
                                                   U.S.
                                                   U    MAGISTRATE
                                                     S MAGISTRAT A E JUDGE
                                                   SOUTHERN DISTRICT OF GEORGIA
